 

vay mye rrp OY
Ee EY

A ada

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

  

   

   

FT SS ee x (O(27 (22
UNITED STATES OF AMERICA, : reason hes
11 Cr. 912 (JFK)
-against- 15 Civ. 2222 (JFK)
TYRIEK SKYFIELD, : ORDER
Defendant. :
eee ee a ee a xX

JOHN F. KEENAN, United States District Judge:

On October 1, 2020, the Court denied Defendant Tyriek
Skyfield’s request to terminate the stay of proceedings in this
action but ordered the parties to immediately notify the Court
upon resolution of three cases! currently pending before the
Second Circuit which involve the same question raised by
Skyfield’s habeas petition; namely, whether attempted Hobbs Act
robbery constitutes a “crime of violence” under 18 U.S.C. §
924(c) (3) (A). (ECF No. 352.)

On October 14, 2020, Skyfield’s counsel informed the Court
that, earlier that day, the Fourth Circuit ruled that attempted
Hobbs Act robbery is not a “crime of violence” under 18 U.S.C. §

924(c). See United States v. Taylor, --- F.3d ---, No. 19-7616,

 

2020 WL 6053317 (4th Cir. Oct. 14, 2020). Skyfield’s counsel
reiterated its earlier request that the Court lift the stay and

order the Government to respond to Skyfield’s petition. (ECE

 

1 United States v. McCoy, No. 17-3515 (argued Oct. 23, 2019); United
States v. Collymore, No. 19-596 (argued June 1, 2020); and United
States v. Morris, No. 16-6 (argued June 25, 2020).

 

 
Case 1:15-cv-02222-JFK Document 15 Filed 10/27/20 Page 2 of 2

No. 357.) On October 21, 2020, the Government filed a letter
opposing Skyfield’s request because three other circuit courts
have reached the opposite conclusion and the cases addressing
the issue remain pending before the Second Circuit. (ECF No.
358.)

At this time, and for the reasons set forth in the Court’s
October 1, 2020 Order, the Court declines to revisit its
decision to continue the stay pending the Second Circuit’s
resolution of the issue raised in Skyfield’s habeas petition.
Accordingly, Skyfield’s request is DENIED.

The Clerk of Court is directed to terminate the letter
motion at ECF No. 357.

SO ORDERED.
Dated: New York, New York

October 27, 2020 dis 4. Reiray ZL

John F. Keenan
V Unites States District Judge

 

 
